                  EXHIBIT 1




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI


PATRICIA BLOUNT, and SANTA FE
RANCH ENTERPRISES, LLC f/k/a
SANTA FE RANCH HOLDINGS, LLC,

                      Plaintiffs,
                                              Case No.
VS.

NATIONWIDE AGRIBUSINESS
INSURANCE COMPANY,

                      Defendant.


                          INDEX OF MATTERS BEING FILED

EXHIBIT 1:

      1.     State Court Action Docket Sheet

      2.     Plaintiffs’ Petition (4/16/19)

      3.     Summons in Civil Case (4/17/19)

      4.     Return Summons in Civil Case (5/9/19)

      5.     Affidavit of Service (5/15/19)




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                    19LW-CC00041 - SANTA FE RANCH ENTERP ET AL V NATIONWIDE
                                       AGRIBUSIN (E-CASE)


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05/15/2019         Filing:
                   SERVICE AFFIDAVIT

05/09/2019         Agent Served
                   Document ID - 19-SMCC-367; Served To - NATIONWIDE AGRIBUSINESS INS. CO.; Server - SO
                   COLE COUNTY-JEFFERSON CITY; Served Date - 26-APR-19; Served Time - 00:00:00; Service Type -
                   Sheriff Department; Reason Description - Served; Service Text - SERVED JOHN CONRACE
                   DESIGNEE

04/17/2019         Note to Clerk eFiling
                     Filed By: JUDSON BARCLAY POPPEN
                   Confidential Address Filed
                   Filing Information Sheet - corrected in response to Filing Info Sheet eFiling filed on 04/16/2019.
                       Filed By: JUDSON BARCLAY POPPEN
                       On Behalf Of: PATRICIA BLOUNT
                   Summons Issued-Circuit
                   Document ID: 19-SMCC-367, for NATIONWIDE AGRIBUSINESS INS. CO..SUMMONS ATTACHED IN
                   PDF FORM FOR ATTORNEY TO RETRIEVE FROM SECURE CASE NET AND ATTACH COPY OF
                   PETITION FOR SERVICE BY PROCESS SERVER/SHERIFF

04/16/2019         Filing Info Sheet eFiling
                       Filed By: JUDSON BARCLAY POPPEN
                       Associated Entries: 04/16/2019 - Pet Filed in Circuit Ct
                   Confidential Address Filed
                   Filing Information Sheet.
                       Filed By: JUDSON BARCLAY POPPEN
                       On Behalf Of: SANTA FE RANCH ENTERPRISES, LLC F/K/A SANTA FE RANCH HOLDING,
                   PATRICIA BLOUNT
                   Pet Filed in Circuit Ct
                   Petition; Exhibit A.
                      Associated Entries: 04/16/2019 - Filing Info Sheet eFiling
                   Judge Assigned
Case.net Version 5.14.0.11                                   Return to Top of Page                                         Released 04/25/2019




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https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                            5/22/2019
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             IN THE 39TH JUDICIAL CIRCUIT, LAWRENCE COUNTY, MISSOURI

Judge or Division:                                              Case Number: 19LW-CC00041
JACK AARON LOUIS GOODMAN
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
 SANTA FE RANCH ENTERPRISES, LLC                                JUDSON BARCLAY POPPEN
F/K/A SANTA FE RANCH HOLDING                                    1949 E SUNSHINE STE 1-130
                                                                PO BOX 10327
                                                          vs.   SPRINGFIELD, MO 65808-0327
Defendant/Respondent:                                           Court Address:
NATIONWIDE AGRIBUSINESS INS. CO.                                JUSTICE CENTER
Nature of Suit:                                                 240 NORTH MAIN
CC Other Tort                                                   STE 110
                                                                MOUNT VERNON, MO 65712                                       (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: NATIONWIDE AGRIBUSINESS INS. CO.
                            Alias:
 JOHN REHAGEN DIRECTOR OF INSURANC
 MISSOURI DEPTARTMENT OF INSURANCE
 TRUMAN STATE OFFICE BLDG, RM 530
 JEFFERSON CITY, MO 65102
     COURT SEAL OF          You are summoned              to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                          APRIL 1, 2019                                 /S/ PAMELA I FOBAIR BY CHRISTINE HIRSCH
                                     _______________________________               ______________________________________________________
    LAWRENCE COUNTY
                                                    Date                                                  Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 19-SMCC-367              1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
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                                                                  54.13, and 54.20;   22 of– 506.140,
                                                                                    506.120   26 and 506.150 RSMo
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